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     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY
     Caption in Compliance with D.N.J. LBR 9004-1(b)

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     Attorneys for Aylstock, Witkin, Kreis & Overholtz,
     PLLC

     In re:                                                             Chapter 11

     LTL MANAGEMENT LLC,1                                               Case No.: 21-30589 (MBK)

                                       Debtor.                          Judge: Michael B. Kaplan

                                                                        Hearing Date & Time:
                                                                        June 22, 2023 at 10:00 a.m.

       NOTICE OF MOTION OF AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC
 O
            FOR ALLOWANCE OF SUBSTANTIAL CONTRIBUTION CLAIM

              PLEASE TAKE NOTICE that, on June 22, 2023 at 10:00 a.m., or as soon thereafter as

 counsel may be heard, Aylstock, Witkin, Kreis & Overholtz, PLLC (“AWKO”), on behalf of

 thousands of holders of talc personal injury claims, through its undersigned counsel, will move

 (the “Motion”) before the Honorable Michael B. Kaplan, United States Bankruptcy Judge, at the



 1
       The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is 501 George
       Street, New Brunswick, New Jersey 08933.
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 United States Bankruptcy Court, Clarkson S. Fisher U.S. Courthouse, 402 East State Street,

 Trenton, New Jersey 08608, for entry of an order allowing AWKO an administrative expense

 claim for certain of the fees it incurred in making a substantial contribution to this chapter 11 case,

 and authorizing and directing LTL Management LLC (the “Debtor”) to reimburse AWKO in such

 amount. The statutory predicate for this relief is Bankruptcy Code section 503(b), and this Motion

 is being filed consistent with the timing specified in the Order (I) Dismissing Debtor’s Chapter 11

 Case Pursuant to 11 U.S.C. § 1112(b); (II) Establishing Procedures with Respect to Requests for

 Compensation; and (III) Granting Related Relief [Bankr. D.I. 3938] (the “Dismissal Order”). A

 proposed form of order approving the Motion is attached hereto as Exhibit A.

        PLEASE TAKE FURTHER NOTICE that, pursuant to D.N.J. LBR 9013-1(a), AWKO

 will rely upon the Memorandum of Points and Authorities submitted herewith, the Declaration of

 Robert J. Pfister attached hereto as Exhibit B, inclusive of Exhibit C, Exhibit D, and Exhibit E

 thereto, and the arguments and evidence at the hearing on the Motion.

        PLEASE TAKE FURTHER NOTICE that, pursuant to paragraph 8 of the Dismissal

 Order, responsive papers, if any, must be filed with the Clerk of the Bankruptcy Court, Clarkson

 S. Fisher Courthouse, 402 East State Street, Trenton, New Jersey 08608, and served upon

 AWKO’s undersigned counsel no later than seven (7) days prior to the hearing.

        PLEASE TAKE FURTHER NOTICE that, unless an objection is timely filed and

 served, the Motion will be deemed uncontested in accordance with D.N.J. LBR 9013-3(d) and the

 relief may be granted without a hearing.



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 DATED: May 4, 2023                 Respectfully submitted,

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     UNITED STATES BANKRUPTCY COURT
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     Attorneys for Aylstock, Witkin, Kreis &
     Overholtz, PLLC
     In re:                                                       Chapter 11

     LTL MANAGEMENT LLC,1                                         Case No.: 2130589 (MBK)

     Debtor.                                                      Judge: Michael B. Kaplan

                                                                  Hearing Date & Time:
                                                                  June 22, 2023 at 10:00 a.m.

     MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION OF
      AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC FOR ALLOWANCE OF
                   SUBSTANTIAL CONTRIBUTION CLAIM




 1
       The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is 501 George
       Street, New Brunswick, New Jersey 08933.
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        Aylstock, Witkin, Kreis & Overholtz, PLLC (“AWKO”), on behalf of thousands of holders

 of talc personal injury claims detailed in its Rule 2019 statement [Bankr. D.I. 2391], submits this

 memorandum in support of its motion for allowance of a substantial contribution claim (the

 “Motion”).

       I. PRELIMINARY STATEMENT REGARDING PROCEDURAL POSTURE

        This Court’s Dismissal Order dismissed the above-captioned chapter 11 case as of April 4,

 2023 (the “Dismissal Date”) and established certain deadlines for professionals and other parties

 in interest to submit requests for compensation. Paragraph 8 of the Dismissal Order provides, in

 pertinent part, that “[a]ny party seeking payment of a claim for substantial contribution may file

 and serve a motion seeking such relief … no later than 30 days following the Dismissal Date,” i.e.,

 by May 4, 2023.

        The Debtor commenced a second chapter 11 case shortly after entry of the Dismissal Order.

 In re LTL Mgmt. LLC, Case No. 23-12825-MBK (Bankr. D.N.J.) (“2023 LTL”). On April 26,

 2023, the Debtor filed in 2023 LTL the Debtor’s Motion for an Order Authorizing it to Satisfy its

 Obligations Under this Court’s Dismissal Order Entered in the Debtor’s Prior Chapter 11 Case

 [2023 LTL D.I. 319] (the “Dismissal Obligations Motion”). The Dismissal Obligations Motion

 seeks entry of an order, inter alia, authorizing the Debtor to “satisfy all prepetition obligations …

 that it is required to pay under the [Dismissal Order].” Id. at 1-2. The substantial contribution

 claim requested through this Motion is a “prepetition obligation[]” within the scope of the

 Dismissal Obligations Motion.

        The Dismissal Obligations Motion suggests that the “parties’ ability to comply with the

 Dismissal Order’s procedures, including requesting payment of expenses from the Debtor,

 arguably could violate the automatic stay.” Id. ¶ 16. The Debtor thus requested that, to the extent

 applicable, “the automatic stay be lifted solely for the purpose of permitting parties to comply with


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 the terms of the Dismissal Order, including … to allow the submission of requests for payment to

 the Debtor [and] to otherwise satisfy the Dismissal Order Obligations.” Id. The Dismissal

 Obligations Motion will be heard on May 22, 2023.

        Given the May 4, 2023 deadline to file this Motion, AWKO has proposed a hearing date

 of June 22, 2023 – one month after the May 22, 2023 hearing on the Dismissal Obligations Motion

 – to ensure that the Debtor will not be required to expend any resources responding to this Motion

 unless and until the Court grants the Dismissal Obligations Motion.

                                       II. BACKGROUND

        On October 14, 2021 (the “Petition Date”), the Debtor filed its chapter 11 petition in the

 Bankruptcy Court for the Western District of North Carolina (the “North Carolina Court”).

 AWKO retained KTBS to serve as its bankruptcy counsel in this case, and played a vital and active

 role throughout the case. For purposes of this Motion, AWKO has divided its contributions into

 three categories, with each corresponding to a discrete phase of the case:

        •       Work performed during the period from the Petition Date through the
                transfer of venue from the North Carolina Court to this Court (the “North
                Carolina Phase”);

        •       Work related to the trial in this Court on the Debtor’s motion for a
                preliminary injunction and AWKO’s and other claimants’ motions to
                dismiss the case (the “Trial Phase”); and

        •       Work on the appeals of the MTD Order [Bankr. D.I. 1603] and PI Order
                [Adv. D.I. 187] (the “Appellate Phase”).

        A summary of AWKO’s contribution to the case in each of these three categories follows.

        1.      The North Carolina Phase

        On October 18, 2021, the Debtor filed the Motion to Enforce [Bankr. D.I. 44], which sought

 entry of an order, inter alia, halting all talc-related claims against J&J, New JJCI, or any other

 affiliate of the Debtor. The Debtor paired the Motion to Enforce with an ex parte motion seeking



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 an emergency hearing. Bankr. D.I. 45. AWKO objected to the Motion to Enforce on the ground

 that this bankruptcy case was filed for the improper purpose of “selectively extend[ing] the benefits

 of bankruptcy” to J&J and JJCI without “subject[ing] their assets and their conduct to the full

 scrutiny of the bankruptcy process.” Bankr. D.I. 103 ¶¶ 2, 9. AWKO also argued that the Motion

 to Enforce was procedurally improper and could only be sought via adversary proceeding. KTBS

 appeared in-person at the hearing on the Motion to Enforce and argued those and other points. See

 generally 10/22/2021 Hr’g Tr. at 66:4-67:4 & 121:16-124:2 (argument by Mr. Pfister). The North

 Carolina Court accepted the procedural objection to the Motion to Enforce and required the Debtor

 to file an adversary complaint. See id. at 136:9-11.

        On October 21, 2021, the Debtor filed its adversary complaint and PI Motion [Adv. D.I.

 2], which included a request for a TRO. The North Carolina Court held a hearing on the TRO

 component of the PI Motion the next day. KTBS appeared and argued in opposition to the TRO.

 See 10/22/2021 Hr’g Tr. at 39:23-42:10. Although the North Carolina Court entered a TRO, it

 dramatically scaled back the relief requested by the Debtor, declining to enter any stay or

 injunction in favor of J&J or any non-Debtor party other than Old JJCI. See Adv. D.I. 28.

        The North Carolina Court set the PI Motion for an evidentiary hearing on November 4-5,

 2021. In advance of that hearing, KTBS coordinated with the Debtor and the other creditors

 concerning discovery, trial logistics, and the like. KTBS participated in all of the depositions in

 advance of the hearing, and prepared and filed a legal brief in opposition to the PI Motion. Adv.

 D.I. 45. Mr. Pfister of KTBS appeared and argued at the hearing on the PI Motion. See 11/5/2021

 Hr’g Tr. at 549:17-551:10.

        In addition to its work opposing the TRO and PI Motion, AWKO also contributed to the

 successful effort to transfer venue from the North Carolina Court to this Court. AWKO filed a




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 brief in support of venue transfer, see Bankr. D.I. 346, and KTBS appeared and argued at the

 November 10, 2021 hearing concerning venue transfer. See 11/10/2021 Hr’g Tr. at 55:23-58:18.

        The work in the North Carolina Phase occurred before any official committee been formed.

 KTBS worked in close coordination with a small group of other counsel – including counsel for

 the Plaintiffs’ Steering Committee – to ensure that all appropriate arguments and evidence were

 presented in a comprehensive but non-duplicative manner.

        2.        The Trial Phase

        After venue was transferred, this Court held a weeklong trial on the PI Motion and the

 motions to dismiss filed by AWKO and others (the “MTD/PI Trial”). AWKO played an integral

 role in the MTD/PI Trial and pre-trial discovery. Among other things, KTBS participated in every

 deposition and appeared and argued at the trial – both in support of dismissal and in opposition to

 the PI Motion.

        AWKO continued to emphasize the theme that this bankruptcy case was not filed for a

 proper purpose and was harmful to creditors. See, e.g., 2/14/2022 Hr’g Tr. at 58:11-17 (arguing

 that “the debtor is trying to use a Bankruptcy Code specific mechanism, Section 524(g)[,] to pay

 less inside bankruptcy than it would pay outside bankruptcy” and analogizing to In re Integrated

 Telecom Express, Inc., 384 F.3d 108 (3d Cir. 2004), a case on which the Third Circuit’s dismissal

 opinion ultimately heavily relied). AWKO further argued that the Debtor was not in sufficient

 financial distress to invoke the protections of the Bankruptcy Code. See 2/17/2022 Hr’g Tr. at

 86:20-87:3 (characterizing J&J as “one of the most solvent profitable enterprises in the world for

 which this talc liability is a blip …. The numbers that Your Honor has heard … do not suggest

 any kind of enterprise threatening liability here.”); see also, e.g., 2/14/2022 Hr’g Tr. at 55:24-

 59:14; 2/17/2022 Hr’g Tr. (afternoon session) at 82:12-93:1.




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        3.      The Appellate Phase

        Working in close coordination with the TCC and other appellants, AWKO played a key

 role in the appeals of the MTD Order and the PI Order. AWKO filed motions in both this Court

 and in the Third Circuit to certify a direct appeal to the Third Circuit. See Bankr. D.I. 1713; Appeal

 No. 22-8021 [ECF No. 1] (3d Cir. April 12, 2022). AWKO and the other three appellants prevailed

 – over the Debtor’s strenuous objection – on both direct appeal motions.

        At the merits stage, KTBS carefully coordinated with other appellants’ counsel to ensure

 that the appellate briefing was comprehensive, non-duplicative, and persuasive. A total of four

 opening briefs were filed. See Appeal No. 22-2003 [ECF Nos. 46, 53, 54] (3d Cir. June 30, 2022)

 & Appeal No. 22-2006 [ECF No. 70] (3d Cir. June 30, 2022). AWKO’s opening appellate brief

 focused on two aspects of the appeal: the Debtor’s ineligibility for relief under section 524(g) and

 lack of a proper bankruptcy purpose. See generally Appeal No. 22-2003 [ECF No. 55] (3d Cir.

 June 30, 2022). The TCC’s briefing cited and adopted arguments made in AWKO’s opening brief.

 See Appeal No. 22-2003 [ECF No. 132] at 22 (3d Cir. Sept. 6, 2022). AWKO’s reply responded

 to the Debtors’ answering brief, see Appeal No. 22-2003 [ECF No. 133] (3d Cir. Sept. 6, 2022),

 and following the completion of briefing KTBS worked in tandem with counsel for the TCC and

 other appellants on oral argument preparation.

        These coordinated appellate efforts were successful. On January 30, 2023, the Third

 Circuit issued its opinion holding that this case was filed in bad faith and instructing this Court to

 dismiss the case pursuant to section 1112(b). In re LTL Mgmt., LLC, 58 F.4th 738, amended and

 superseded, 64 F.4th 84 (3d Cir. 2023). AWKO worked with other appellants’ counsel in opposing

 the Debtor’s requests for rehearing and for a stay of the mandate. See Appeal No. 22-2003 [ECF

 Nos. 168, 176] (3d Cir. March 6, 2023 and March 28, 2023).




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                                         III. RELIEF REQUESTED

           Pursuant to section 503(b) of the Bankruptcy Code, AWKO seeks an order directing LTL

 to reimburse AWKO’s actual out-of-pocket expenditures (in the form of fees paid to KTBS) in the

 aggregate amount of $961,289 for work undertaken in this case on the ground that such work

 directly and significantly benefited all creditors and the Debtor’s estate generally and is a

 substantial contribution by AWKO to this case. A category-by-category breakdown and detailed

 time entries are appended to the Pfister Declaration. Excluded are fees incurred on client-specific

 matters or other matters that AWKO determined were not relevant to its substantial contribution.

 A proposed form of order granting the requested relief is annexed hereto as Exhibit A.

                                  IV. BASIS FOR RELIEF REQUESTED2

 A.        Applicable Standard

           Section 503(b) of the Bankruptcy Code authorizes the bankruptcy court to award

 compensation to creditors for their restructuring expenses incurred in making a “substantial

 contribution” in a chapter 11 case. Section 503(b) provides, in pertinent part:

           (b)     After notice and a hearing, there shall be allowed administrative expenses,
                   other than claims allowed under section 502(f) of this title, including …

                   (3)      the actual, necessary expenses … incurred by …

                            (D)      a creditor … in making a substantial contribution in a case
                                     under chapter … 11 of this title;

                   (4)      reasonable compensation for professional services rendered by an
                            attorney … of an entity whose expense is allowable under
                            subparagraph … (D) … of paragraph (3) of this subsection, based
                            on the time, the nature, the extent, and the value of such services,
                            and the cost of comparable services other than in a case under this




 2
     To the extent consistent herewith, AWKO incorporates and adopts the legal argument set forth in the Omnibus
     Motion of the Substantial Contribution Claimants for Allowance of Administrative Claims [Etc.] [Bankr. D.I.
     3949-1] (the “Omnibus Motion”).


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                        title, and reimbursement for actual, necessary expenses incurred by
                        such attorney[.]

 11 U.S.C. §§ 503(b)(3)(D) & (b)(4).

        Section 503(b)(3)(D) recognizes the importance of and encourages individual creditor

 participation. Lebron v. Mechem Fin., 27 F.3d 937, 944 (3d Cir. 1994) (substantial contribution

 awards further the “objective[] of encouraging meaningful creditor participation in the

 reorganization process” (citation omitted)); In re DP Partners, Ltd. P’ship, 106 F.3d 667, 672 (5th

 Cir. 1997) (“The policy aim of authorizing fee awards to creditors is to promote meaningful

 creditor participation in the reorganization process.” (quoting In re Consolidated Bancshares, Inc.,

 785 F.2d 1249, 1253 (5th Cir. 1986))).

        To determine whether a substantial contribution has been made within the meaning of

 section 503(b), the Court can assess the record in light of its “experience garnered during the course

 of the administration of the Debtor’s estate….” In re Grasso, 519 B.R. 137, 144 (Bankr. E.D. Pa.

 2014). See also Lebron, 27 F.3d at 946 (“The inquiry concerning the existence of a substantial

 contribution is one of fact, and it is the bankruptcy court that is in the best position to perform the

 necessary fact finding task.”); In re DeVal Corp., 601 B.R. 725, 727 (E.D. Pa. 2019) (refusing to

 disturb “fact findings based on the Bankruptcy Judge’s credibility evaluations … and first-hand

 supervision of the various actors’ conduct in this multi-year case”).

        Bankruptcy courts within the Third Circuit have awarded payment, as an administrative

 expense, of the fees and expenses, including reasonable and necessary attorneys’ fees, incurred by

 a creditor in making a substantial contribution to a chapter 11 case. See, e.g., DeVal Corp., 601

 B.R. at 738; In re Syntax-Brillian Corp., 2009 WL 1606474, at *3 (Bankr. D. Del. June 5, 2009);

 In re Columbia Gas Sys., Inc., 224 B.R. 540, 554–55 (Bankr. D. Del. 1998). Among the factors

 typically considered are whether the services inured to the benefit of the creditor body as a whole



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 and whether they were duplicative of services rendered by attorneys for a committee or for the

 debtor. See, e.g., In re Worldwide Direct, Inc., 334 B.R. 112, 121 (Bankr. D. Del. 2005). A

 “substantial contribution” need not be “a contribution that leads to confirmation of a plan, for in

 many cases, it will be a substantial contribution if the person involved uncovers facts that would

 lead to a denial of confirmation.” In re Encapsulation Int’l, Inc., 1998 WL 801898, at *3 (Bankr.

 W.D. Tenn. Nov. 9, 1998) (citing NORTON BANKR. L. AND PRAC. 2d § 42.27 (1997)); see also

 Omnibus Motion ¶ 51 (collecting additional authorities).

          “Most activities of an interested party that contribute to the estate will also, of course,

 benefit that party to some degree, and the existence of a self-interest cannot in and of itself preclude

 reimbursement.” Lebron, 27 F.3d at 944. See also DP Partners, 106 F.3d at 673 (“nothing in the

 Bankruptcy Code requires a self-deprecating, altruistic intent as a prerequisite to recovery of fees

 and expenses under section 503”); Grasso, 519 B.R. at 140–42 (creditors’ efforts need not be

 “animated by purely altruistic motives”).

 B.       Application of Standard

          AWKO’s position throughout the case was consistent: The Debtor’s bankruptcy filing was

 a misuse of the bankruptcy process and harmful to the Debtor’s creditors. See, e.g., 10/20/2021

 Hr’g Tr. at 66:19-22. AWKO’s counsel repeatedly advanced this theme throughout the case,

 including during the North Carolina Phase – when the creditor body did not have representation

 through an official committee3 – and during the Trial and the Appellate Phases, in close

 coordination with committee counsel and counsel for other creditors. AWKO’s position was

 ultimately vindicated by the Third Circuit’s decision, and dismissal redounded to all creditors’




 3
      The TCC was appointed on November 8, 2021, and filed its retention applications on November 12, 2021. See
      Bankr. D.I. 355 (order appointing committee), 385-387 (TCC’s applications to retain counsel).


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 benefit. Cf. Lebron, 27 F.3d at 945 (surveying the legislative history of section 503(b) and

 concluding that the statute does not “require a contribution that leads to confirmation of a plan”).

         Coordination with other claimants’ counsel in North Carolina contributed to an orderly,

 efficient, and successful opposition to the Debtor’s initial TRO and preliminary injunction motions

 and the transfer of venue from the North Carolina Court to this Court – notwithstanding the absence

 of an official committee. Similar coordination and complementary work in the Third Circuit

 allowed the creditor body as a whole to present comprehensive, non-duplicative, and ultimately

 persuasive arguments to the Third Circuit. Ultimately the creditor bodied benefited from four

 appellants’ briefs (only one of which was filed by the TCC) and from the advocacy of two separate

 appellate advocates (only one of which was retained by the TCC).

         AWKO’s contribution was not duplicative of the work of any committee. In the North

 Carolina Phase, there was no committee, yet creditors were able to present a unified opposition to

 the Debtor’s request for injunctive relief, with each counsel making its own, unique contribution.

 In the Trial Phase, AWKO coordinated with and assisted the TCC to ensure a comprehensive but

 non-duplicative presentation of the arguments and evidence. And at the Appellate Phase, the four

 appellants divided the issues and coordinated their efforts to minimize duplication, provide robust

 and independent analysis, and ultimately frame and present the issues in a way that the Third

 Circuit found persuasive.

         The formation of an official committee does not preclude or diminish the value of

 participation by individual creditors, as AWKO’s experience in the Imerys4 case illustrates. The

 proposed plan in Imerys classified all ovarian cancer and mesothelioma claims together, yet



 4
     In re Imerys Talc Am., Inc., et al., Case No. 19-10289 (LSS) (Bankr. D. Del.). For the avoidance of doubt, AWKO
     has not filed a substantial contribution claim in the Imerys case and this Motion does not seek any compensation
     for AWKO’s contribution to that case.


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 contemplated a “40-40-20” split of trust assets that allocated a disproportionate share of trust assets

 to mesothelioma claimants. See generally Disclosure Statement for Ninth Amended Joint Plan

 [etc.], Imerys D.I. 2866 at 174 (describing the “40-40-20” split and objections thereto).

 Notwithstanding the preferential treatment to a relatively small number of mesothelioma claimants

 under the plan, the official tort claimants’ committee in Imerys backed the plan. AWKO played

 an active role in discovery and contested matters related to the plan solicitation process, including

 successfully opposing a law firm’s motion to change over 15,000 rejecting votes to accepting

 votes. See Pfister Decl. ¶ 3. This resulted in the failure of the Imerys plan. In re Imerys Talc Am.,

 Inc., 2021 Bankr. LEXIS 2852 (Bankr. D. Del. Oct. 13, 2021). The Imerys case teaches that the

 active participation of creditors can generate a substantial benefit for the estate and the creditor

 body even when an official committee has been appointed.

        The fees that are the subject of this Motion are solely for services that benefited creditors

 generally. Fees in respect of AWKO-specific matters in this case (e.g., preparation of its Rule

 2019 statement, communications with the U.S. Trustee regarding a potential role on the creditors’

 committee, and the like) have been excluded from the amounts for which reimbursement is

 requested.

                                         V. CONCLUSION

        For all the reasons set forth herein, AWKO respectfully requests that the Court enter an

 order, substantially in the form of the proposed order attached hereto as Exhibit A, directing LTL

 to reimburse AWKO’s actual out-of-pocket expenditures for work undertaken in this case on the

 ground that such work directly and significantly benefited all creditors and the Debtor’s estate

 generally and is a substantial contribution by AWKO to this case.




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 DATED: May 4, 2023                 Respectfully submitted,

                                   OFFIT KURMAN, P.A.

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                                   Robert J. Pfister (pro hac vice)
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                                  Exhibit A


                              Proposed Order
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     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY
     Caption in Compliance with D.N.J. LBR 9004-1(b)

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     Attorneys for Aylstock, Witkin, Kreis & Overholtz,
     PLLC

     In re:                                                             Chapter 11

     LTL MANAGEMENT LLC,1                                               Case No.: 21-30589 (MBK)

                                       Debtor.                          Judge: Michael B. Kaplan

                                                                        Hearing Date and Time:
                                                                        June 22, 2023 at 10:00 a.m.

                         [PROPOSED] ORDER GRANTING MOTION
                    OF AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC
 O
                 FOR ALLOWANCE OF SUBSTANTIAL CONTRIBUTION CLAIM

              Upon the motion (the “Motion”)2 for entry of an order (this “Order”) pursuant to section

 503(b) of the Bankruptcy Code allowing payment or reimbursement of expenses incurred by



 1
       The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is 501 George
       Street, New Brunswick, New Jersey 08933.
 2
       Capitalized terms used but not otherwise defined herein have the meanings ascribed to such terms in the Motion.
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 Aylstock, Witkin, Kreis & Overholtz, PLLC (“AWKO”) in making a substantial contribution in

 the above-captioned case; and this Court having jurisdiction to consider the Motion in accordance

 with 28 U.S.C. § 1334; and the Court having found that this is a core proceeding pursuant to 28

 U.S.C. § 157(b)(2) and that venue of this proceeding and the Motion in this District is proper

 pursuant to 28 U.S.C. §§ 1408 and 1409; and appropriate notice of and opportunity for a hearing

 on the Motion having been given and no other or further notice being necessary; and upon the

 record herein; and the Court having determined that the legal and factual bases set forth in the

 Motion establish just cause for the relief granted herein; and after due deliberation and sufficient

 cause appearing therefor,

        IT IS HEREBY ORDERED THAT:

        1.      The Motion is GRANTED as set forth herein.

        2.      The Debtor is authorized and directed to pay or reimburse AWKO in the amount of

 $961,289 as soon as practicable, subject to entry of an unstayed order granting the Dismissal

 Obligations Motion.

        3.      The Court retains exclusive jurisdiction with respect to all matters arising from or

 related to the implementation, interpretation, and enforcement of this Order.

                                                ###




                                                  2
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                                  Exhibit B


                      Declaration of Robert J. Pfister
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     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY
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     Attorneys for Aylstock, Witkin, Kreis & Overholtz,
     PLLC

     In re:                                                             Chapter 11

     LTL MANAGEMENT LLC,1                                               Case No.: 21-30589 (MBK)

                                       Debtor.                          Judge: Michael B. Kaplan

                                                                        Hearing Date and Time:
                                                                        June 22, 2023 at 10:00 a.m.

 O
                                DECLARATION OF ROBERT J. PFISTER

              I, Robert J. Pfister, hereby declare:

              1.     I am over the age of eighteen years. This declaration is based on my personal

 knowledge and experience and my review of relevant documents. If called as a witness, I could




 1
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       Street, New Brunswick, New Jersey 08933.
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 and would competently testify to the facts set forth herein. I submit this declaration in support of

 the Motion of Aylstock, Witkin, Kreis & Overholtz, PLLC for Allowance of Substantial

 Contribution Claim (the “Motion”). Capitalized terms used but not defined herein have the

 meanings ascribed to them in the Motion.

        2.      I am licensed to practice law and a member of the bars for the states of Indiana,

 California, New York, and Connecticut. I am a Partner of the law firm of KTBS Law LLP

 (“KTBS”), which maintains an office at 1801 Century Park East, 26th Floor, Los Angeles, CA

 90067. KTBS is a nationally recognized bankruptcy boutique with extensive experience in

 complex bankruptcies and bankruptcy-related litigation.

        3.      By way of background, prior to retaining KTBS in this case, AWKO retained KTBS

 to serve as its bankruptcy counsel in the jointly administered chapter 11 cases styled In re Imerys

 Talc Am., Inc., et al., Case No. 19-10289 (LSS) (Bankr. D. Del.). AWKO retained KTBS in the

 Imerys case in April 2021. AWKO opposed the then-pending plan of reorganization based on,

 inter alia, its disparate treatment of ovarian cancer claimants and mesothelioma claimants. KTBS,

 on behalf of AWKO, was an active participant in plan and solicitation-related discovery and

 contested matters in the Imerys case. AWKO and other parties in interest ultimately prevailed in

 defeating the Rule 3018 motion of a law firm to change more than 15,000 votes from “reject” to

 “accept,” which resulted in the failure of the Debtor’s plan. Notably, the plan the failed to garner

 sufficient creditor support in Imerys was supported by the TCC in that case – which reinforces the

 important role that individual creditor participation has, notwithstanding the existence of one or

 more official committees.

        4.      AWKO retained KTBS to serve as its bankruptcy counsel in the Debtor’s initial

 chapter 11 case pursuant to an engagement letter dated October 18, 2021. AWKO represents




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 thousands of talc claimants with claims against, inter alia, the Debtor and J&J. See Bankr. D.I.

 2391 (AWKO’s Rule 2019 statement). AWKO played an active and important role throughout

 this case.

         5.     Broadly speaking, the case can be divided into three categories or phases: (i) the

 North Carolina Phase encompasses the period from the Petition Date (October 14, 2021) through

 the transfer of venue from the North Carolina Court to this Court (November 16, 2021); (ii) the

 Trial Phase encompasses the period from November 17, 2021 through the entry of the Court’s

 opinion on the motions to dismiss (February 25, 2022); and (iii) the Appellate Phase encompasses

 the period from February 26, 2021 through the date on which the Third Circuit issued its mandate

 (March 31, 2023).

         6.     In the North Carolina Phase, AWKO opposed the Debtor’s initial requests for TROs

 and its initial PI Motion, and argued for a transfer of venue that ultimately resulted in the case

 being before this Court and then the Third Circuit. I appeared in person and argued at the hearing

 on the Motion to Enforce on October 20, 2022, the TRO hearing on October 22, 2022, the PI

 Motion trial on November 4-5, 2022, and the venue transfer hearing on November 10, 2022. No

 committee had been formed at this point in the case. AWKO worked closely with other claimants’

 counsel, including counsel for the MDL Plaintiffs’ Steering Committee (the “PSC”), to take

 discovery, brief, and argue those motions in a coordinated, efficient, non-duplicative, and effective

 manner. I believe that the PSC and other objectors made a significant contribution during the

 North Carolina phase of the case. In advance of PI Motion trial, KTBS coordinated extensively

 with these objectors concerning discovery, trial logistics, and the like. KTBS participated in all of

 the depositions in advance of the hearing. A detailed list of the KTBS time entries for which

 AWKO seeks reimbursement is attached hereto as Exhibit C. They total $175,537.50.




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